                  Case 2:04-cv-09049-DOC-RNB Document 3337 Filed 04/28/08 Page 1 of 20 Page ID
                                                  #:57627



                    1        QUINN EMANUEL URQUHART OLIVER & HEDGES, LLP
                               John B . Quinn {Bar No. 090378)
                    2          (johnquinn q u^ innemanuel.com)
                              Michael T . eller (Bar No. 196417)
                    3         ^michaelzeller^qumnemanuel.com)
                                on D. Corey ( ar No. 185066
                    4         ^onc orey^quinnemanuel . com
                             86 South igueroa Street, 10th loor
                    S        Los Angeles , California 90017--2543
                             Telephone : 213 443-3000
                    6        Facsimile:    213 443-3100
                    7 Attorneys for Mattel, Inc.
                    S
                                                     UNITED STATES DISTRICT COURT
                    9
                                                 CENTRAL DISTRICT OF CALIFORNIA
                   10
                                                          EASTERN DIVISION
                   11
                             CARTER BRYANT, an individual ,            CASE NO. CV 04-9049 SGL (RNBx)
                  12
                                        Plaintiff,                     Consolidated with
                  13                                                   Case No. CV 04-09059
                                  vs.                 ^                Case No. CV DS-02727
                  14
                             MATTEL, INC., a Delaware                  Hon. Stephen G. Larson
                  15' corporation,
                                                                        PUBLIC REDACTED]
                  16                    Defendant.                       ECLARATION OF TAMAR
                                                                       BUCHAKJIAN IN SUPPORT OF
                  17                                                   MATTEL, INC.'S OPPOSITIONS TO
                             AND CONSOLIDATED ACTIONS                  THE MGA PARTIES' MOTIONS IN
                  18                                                   LIMINE NOS. 1-14
                  19                                                   Date: May 21, 2008
                                                                       Time: 1:00 p.m.
                  20                                                   Place: Courtroom 1
                  21                                                   Phase 1
                                                                       Pre-Trial Conference:    May 19, 2008
                  22                                                   Trial Date:              May 27, 2008
                  23
                  24
                  25
                  26
                  27
                  2$
o7zogrxass7ss.t         ^^
                                                                   ^                     BUCHAKJIAN DBCI.ARATiON I
                 Case 2:04-cv-09049-DOC-RNB Document 3337 Filed 04/28/08 Page 2 of 20 Page ID
                                      ,-- -,     #:57628            ^-^.




                      1                 DECLARATION OF TAMAR SUCHAKJIAN
                  2               1, Tamar Buchakjian , declare as follows:
                  3               1.     1 am a member of the bar of the State of California and an
                  4 associate with Quinn Emanuel Urquhart Oliver & Hedges, LLP, attorneys for
                  S Mattel , Inc. I make this declaration of personal, firsthand knowledge , and if called
                  b^' and sworn as a witness, I could and would testify competently thereto.
                  7               2.     Attached hereto as Exhibit 1 is a true and correct copy of the
                  8 Verified Complaint in Larian v. Larian , L.A. Sup. Ct. Case no. BC301371, dated
                  9 August 2S, 2003.
                 10               3.     Attached hereto as Exhibit 2 is a true and correct copy of a letter
                 11 ^ from Isaac Larian to Farhad Larian , dated March 30, 2000.
                 12               4.     Attached hereta as Exhibit 3 is a true and correct copy of the
                 13 ^ Declaration of Farhad "Fred" Larian, dated November 7, 2003.
                 14               S.     Attached hereto as Exhibit 4 is a true and correct copy of the
                 15 Declaration of Morad Zarabi, dated. September 14, 2004.
                 lb               6.    Attached hereto as Exhibit 5 is a true and correct copy of the
                 i7 Declaration of Ernest Dutcher, dated .lanuary 9, 2005.
                 18               7.    Attached hereto as Exhibit 6 is a certif ed copy of the Transcript
                 19 of Audiotaped Meeting with Ernest Dutcher, Appraiser , dated September 10, 2003.
                 20               8.    Attached hereto as Exhibit 7 is a true and correct copy of a
                 21 memorandum by A. Goldberg Re October 19, 2004 Meeting with Ernest Dutcher.
                 22              9.     Attached hereto as Exhibit $ is a true and correct copy of a letter
                 23 from Fenita M. Shepard to Robert G. Wilson, dated November 15, 2005.
                 24               10.   Attached hereto as Exhibit 9 is a true and correct copy of the
                 2S Court's Minute Order, dated August 27, 2007.
                 26               11.   Attached hereto as Exhibit 10 is a true and correct copy of a
                 27 letter from Tania M. Krebs to Robert Wilson, dated November 2$, ZOOS.
                 28
Q72^912485785J                                                 ^2_

                                                                                    ^UCHAKJIAN DECLARATION
                   Case 2:04-cv-09049-DOC-RNB Document 3337 Filed 04/28/08 Page 3 of 20 Page ID
                                                                      r `^`
                                        ,....^ ^
                                                   #:57629



                        1                 12.    Attached hereto as Exhibit I 1 is a true and correct copy of
                        2 excerpts from MGA Entertainment, Inc.'s Objections and Responses to Mattel's First
                        3    Set of Requests for Admission to MGA Entertainment, Inc.; Carter Bryant; MGA
                        4 Entertainment (HK) Ltd; and Isaac Larian, dated February 4, 2008.
                        5                 13.    Attached hereto as Exhibit 12 is a true and correct copy of the
                        6 Declaration of Daphne Gronich in Response to Court's Request for Information
                        7 Regarding Document Preservation, dated September 10, 2007.
                        8                 14,   Attached hereto as Exhibit 13 is a true and correct copy of
                        9 Mattel, Inc.'s Corrected Phase One Witness List, dated April 1, 2008.
                    10                   15.    Attached hereto as Exhibit 14 is a true and correct copy of
                    11      excerpts from Mattel 's Proposed Jury Instructions.
                    12                   16.    Attached hereto as Exhibit 1 S is a true and correct copy of the
                   13 Verified Complaint in Larian v. Zarabi, L.A. Sup. Ct. Case no. BC329501, dated
                   14 February 24, 2005.
                   15                    17.    Attached hereto as Exhibit 16 is a true and correct copy of
                   16 Larian v. Larian, 123 Cal. App. 4th 751 (2004).
                   17                    18.    Attached hereto as Exhibit 17 is a true and correct copy of a
                   18 letter from Morad Zarabi, dated February 8, 2005.
                   19                    19.    Attached hereto as Exhibit 18 is a true and correct copy of the
                   20 Larian v. Larian Court Order, dated May 4, 2005.
                   21                    Z0.    Attached hereto as Exhibit 19 is a true and correct copy of the
                   22 Final Arbitration Award in Larian v. Larian, dated November 28, 2005.
                   23                    21.    Attached hereto as Exhibit 20 is a true and correct copy of the
                   24 Declaration of Claimant Farhad Larian in Support of his Opposition to Respondent
                   25 Isaac Larian's Motion far Attorneys' Fees, dated January 20, 2006.
                   26                   22.     Attached hereto as Exhibit 21 is a true and correct copy of the
                   27 Final Arbitration Amendment for Respondent's Motion for Prevailing Party
                   28       Attorney's Fees in Larian y. Larian, dated February 3, 2006.
0720412485785. I

                                                                                           BUCHAKJIAN DECLARATI
                   Case 2:04-cv-09049-DOC-RNB Document 3337 Filed 04/28/08 Page 4 of 20 Page ID
                                                   #:57630
                                               ;^    ^;




                                         23.         Attached hereto as Exhibit 22 is a true and correct copy of an e-
                        2 mail from Fred Larian to Isaac Larian , dated May 4, 2004.
                        3                24.         Attached hereto as Exhibit 23 is a true and correct copy of a
                        4   letter from Daphne Gronich to Mark D. Kremer, dated August 19, 2005.
                        5                25,         Attached hereto as Exhibit 24 is a true and correct copy of a
                        6 facsimile transmission sent from Mark D. Kremer to Daphne Gronich, dated
                        7 September 7, 2005.
                        8                26.        Attached hereto as Exhibit 25 is a true and correct copy of a
                        9 ^^ letter from Don Howarth to Larry R. Feldman, dated April 6, 2004.
                    10                  27.         Attached hereto as Exhibit 26 is a true and correct copy of
                    11      Mattel, Inc.'s [Corrected] Separate Statement of Uncontested Facts. and Conclusions
                    12 of Law in Support ofMattel, Inc.'s Motion for Partial Summary Judgment, dated
                   13 March 7, 2008.
                   14                   28.         Attached hereto as Exhibit 27 is a true and correct copy of
                   15 excerpts from the MGA Parties' Corrected Notice of Motion for Partial Summary
                   16 Judgment, Motion and Memorandum of Points and Authorities in Support Thereof,
                   17 dated March 7, 2008.
                   18                   29.         Attached hereto as Exhibit 28 is a true and correct copy of the D.
                   19 Jan Duffy Rebuttal Report of Bruce L, Stein, dated March 17, 2008.
                   20                   30.         Attached hereto as Exhibit 29 is a true and correct copy of a
                   21 MGA 1999 Confidentiality and Inventions Assignment Agreement, signed by Kami
                   22 Gillmour, dated May 24, 1999.
                   23                   31,         Attached hereto as Exhibit 30 is a true and correct copy of the
                   24 Employee Confidential Information and Inventions Agreement, signed by Veronica
                   25 Marlow, dated June 27, 1996, and marked as Exhibit 1228 to the Deposition of
                   26 Veronica Marlow.
                   27
                   28
07209/24$5781. I

                                                                                              BUCHAKJIAN DECLARATION
                   Case 2:04-cv-09049-DOC-RNB Document 3337 Filed 04/28/08 Page 5 of 20 Page ID
                                                                      _.
                                                   #:57631



                        1               32.   Attached hereto as Exhibit 31 is a true and correct copy of the
                     2      Employee Confidential Information and Inventions Agreement, signed by Margaret
                     3 ^ Leahy, dated June 19, 1995.
                     4                  33.   Attached hereto as Exhibit 32 is a true and correct copy of the
                     5      Employee Confidential Information and Inventions Agreement, signed by Daniel J.
                     6 Cooney, Jr., and marked as Exhibit 2125 to the Deposition of Daniel Cooney.
                     7                  34.   Attached hereto as Exhibit 33 is a true and correct copy of the
                            Employee Confidential Information and Inventions Agreement, signed by Jorge R.
                    9 Castilla, dated October 29, 1999.
                   14                   35.   Attached hereto as Exhibit 34 is a true and correct copy of the
                   11       Employee Confdential Information and Inventions Agreement, signed by Paula
                   12 Treantafelles, dated July 4, 1997, and marked as Exhibit 1116 to the Deposition of
                   13 Paula Garcia.
                   14                   36.   Attached hereto as Exhibit 35 is a true and correct copy of the
                   15 Employment Application of Maria Elena Salazar.
                   16           _      37.    Attached hereto as Exhibit 36 is a true and correct copy of MGA
                   17 Entertainment (HK) Ltd.'s Third Supplemental Responses to Mattel, Inc.'s Amended
                   18 Fourth Set of Interrogatories, dated January 28, 2008.
                   19                  38.    Attached hereto as Exhibit 37 is a true and correct copy of
                   20 excerpts from the Expert Rebuttal Report of Michael J. Wagner, dated March 17,
                   21       2008.
                   22                  39.    Attached hereto as Exhibit 38 is a true and correct copy of an
                   23 e-mail from Isaac Larian to Carter Bryant and Paula Garcia, dated December 15,
                   24 2004.
                   25                  40.    Attached hereto as Exhibit 39 is a true and correct copy of an
                   26 e-mail from Paula Garcia to Dennis Soai and Elaine Yip, dated January 31, 2007.
                   27                  41.    Attached hereto as Exhibit 40 is a true and correct copy of an
                   28 e-mail from Paula Garica to Elaine Yip, Aileen Storer, Dennis Soai, Mia Garcia,
0720912485785. I                                                    ^5_

                                                                                         BUCIIAKJtAN DECLARATION
                  Case 2:04-cv-09049-DOC-RNB
                                      r,
                                             Document 3337 Filed 04/28/08
                                                                     ^^'1
                                                                             Page 6 of 20 Page ID
                                       \
                                                  #:57632            ^`   Yt




                       1 Desiree Ronquillo , Ana Parkinson, Zone Jeffries, Jessica Wei, Kathleen Suh, Jier Su,
                   2 Ninette Pimbleton , dated September 12, 2006.

                   3                  42.    Attached hereto as Exhibit 41 is a true and correct copy of an
                   4 e-mail from Isaac Larian to Summer Wells, dated August 4, 2003 , with attachment.
                   S                  43.    Attached hereto as Exhibit 42 is a true and correct copy of an
                   6 e-mail chain from Paula Garcia to Carter Bryant , dated June 28, 2006.
                   7                  44.    Attached hereto as Exhibit 43 is a true and correct copy of an
                   $ e-mail chain from Paula Treantafelles to Eve Johnson and Isaac Larian, dated
                   9 January 29, 2002.
                  i0                  4S.    Attached hereto as Exhibit 44 is a true and correct copy of an
                  11     e-mail from Mercedeh Ward to Isaac Larian , dated October 3, 2000.
                  12                  46.    Attached hereto as Exhibit 45 is a true and correct copy of an
                  13     e-mail chain between Isaac Larian and Ronald Gerevas, dated July 30, 2003.
                  14                  47.    Attached hereto as Exhibit 46 is a true and correct copy of an

                  1 S e-mail chain between Carter Bryant and Isaac Larian , dated February 1 S, 2002.
                  16                  48.    Attached hereto as Exhibit 47 is a true and correct copy of an
                  17 e-mail from Isaac Larian to Ninette Pembleton, dated June 3, 2006.
                  18                  49.    Attached hereto as Exhibit 48 is a true and correct copy of the

                  19. Confidentiality and Inventions Assignment Agreement between Mercedeh Ward and
                  20 ABC International Traders, dated October 1$, 2000.
                  21                  S0.    Attached hereto as Exhibit 49 is a true and correct copy of the
                  22 letter from Keith Jacoby, counsel for Bryant , dated November 1, 2004 to John
                  23 Quinn.
                  24                  S 1.   Attached hereto as Exhibit SO is a true and correct copy of the
                  25 Joint Stipulation Re: Mattel's Motion to Compel Production of Documents, filed on
                  26 January 6, 2005.
                  27                  SZ.    Attached hereto as Exhibit S 1 is a true and correct copy of the
                  28     [Redacted] Declaration of Keith A. Jacoby in Support of Defendant and Cross-
67209/2465785.1                                                     _ 6_
                                                                                        BUCHAKJIAN DECLARATCON
                   Case 2:04-cv-09049-DOC-RNB Document 3337 Filed 04/28/08 Page 7 of 20 Page ID
                                         -^..      #:57633            ^a
                                                    ^'



                         1    Claimant Carter Sryant's Portion of Joint Stipulation, dated January 6, 2005
                        Z ^^ (without exhibits).
                        3                 S3.       Attached hereto as Exhibit S2 is a true and cozTect copy of
                        4 excerpts of the Separate Statement of Defendant Carter Bryant in Opposition to
                        S Mattel's Motion to Compel, filed on January 11, 2007.
                        6                 S4.      Attached hereto as Exhibit 53 is a true and correct copy of
                        7 excerpts of the Declaration of Keith A. Jacoby in Support of Carter Bryant's
                        8 Opposition to Mattel, Inc.'s Motion to Compel Production of Documents dated
                        9 January 11, 2007 (without exhibits).
                    10                    55.      Attached hereto as Exhibit 54 is a true and correct copy of the
                    11       Order of the Discovery Master Hon. Edward Infante (Ret.) dated January 2S, 2007.
                    12                    S6.      Attached hereto as Exhibit SS is a true and correct copy of the
                    13       Stipulation and Order re: Request to Extend Deadline Within Which Carter Bryant
                   14 Must Comply with the Discovery Master's January 2S, 2007 Order Granting Mattel's
                   1S Motion to Compel Production of Documents dated February 23, 2007.
                   16                     S7.      Attached hereto as Exhibit 56 is a true and correct copy of an e-
                   17 mail dated February 27, 2007, from Douglas Wickham, counsel for Bryant, to
                   18 Michael T. Zeller and John Quinn.
                   19                     S8.      Attached hereto as Exhibit S7 is a true and correct copy of a
                   20 letter dated March 2, 2007 from Douglas Wickham to Michael T. Zeller.
                   21                    S9.       Attached hereto as Exhibit 58 is a true and correct copy of a
                   22 letter dated March 16, 2007 from Douglas Wickham to Michael T. Zeller.
                   23                    60.    Attached hereto as Exhibit S9 is a true and correct copy of a
                   24 letter dated March 26, 2007 that Michael T. Zeller sent to Douglas Wickham.
                   2S                    61.    Attached hereto as Exhibit 60 is a true and correct copy of a
                   26 letter dated March 27, 2007 from Douglas Wickham to Michael T. Zeiler.
                   27                    62.    Attached hereto as Exhibit 61 is a true and correct copy of a
                   28        letter dated Apri16, 2007 that Michael T. Zeller sent to Douglas Wickham.
D7209/2485765. f

                                                                                              BUCHAK7IAN DECLARATION
                  Case 2:04-cv-09049-DOC-RNB Document 3337 Filed 04/28/08 Page 8 of 20 Page ID
                                                /^#:57634                              ^`
                                                                                       l




                        1                 63.        Attached hereto as Exhibit 62 is a true and correct copy of the
                       2 ^^ Notice of Motion and Motion of Mattel, Inc. for an Order to Enforce Court's January
                       3 25, 2007 Order Compelling Bryant to Produce Desktop Computer Hard Drive.
                       4                  64.        Attached hereto as Exhibit 63 is a true and correct copy of a
                       S letter from Keith A. Jacoby to Michael T. Zeller, dated Apri123, 2007.
                       6                  65.    Attached hereto as Exhibit 64 is a true and correct copy of
                       7 Mattel, Inc.'s Notice of Withdrawal Without Prejudice of Motion for an Order to
                       8 Enforce Court' s January 25, 2007 Order Compelling Bryant to Produce Desk Top
                       9 Computer Hard Drive , dated May 2, 2007.
                   10                     66.    Attached hereto as Exhibit 6S is a true and correct copy of a
                   11       Request for Approval of Substitution of Attorney , dated May 18, 2007.
                   12                     67.    Attached hereto as Exhibit 66 is a true and correct copy of the
                  13 Court's Order Denying Appointment of Expert Witnesses , dated August 11, 2006.
                  14                      68.    Attached hereto as Exhibit 67 is a true and correct copy of a
                  15 letter from Jon Corey to Keith Jacoby , dated November I, 2004 and faxed on
                  16 November 2, 2004 , requesting that Mr. Bryant have his originals available at his
                  17 deposition in Missouri.
                  IS                     69.    Attached hereto as Exhibit 68 is a true and correct copy of an
                  19 e-mail from Keith Jacoby, dated November 3, 2004.
                  20                     70.    Attached hereto as Exhibit 69 is a true and correct copy of the
                  21        Declaration of Keith Jacoby, without exhibits , filed in support of Bryant ' s portion of
                  22 a Joint Stipulation Re: Mattel, Ines Motion to Compel Inspection of Original
                  23        Documents and Tangible Things, on February 18, 2005.
                  24                     7I.    Attached hereto as Exhibit 70 is a true and correct copy of the
                  25        Declaratian of Erich J. Speckin , dated July 21, 2006.
                  26                     72.    Attached hereto as Exhibit 71 is a true and correct copy of
                  27        excerpts of the MGA Privilege Log (Revised), dated January 23, 2008.
                  28
D72U9/2485785,1

                                                                                              BUCHAKJIAN ©ECLARA7'ION
                  Case 2:04-cv-09049-DOC-RNB Document 3337 Filed 04/28/08 Page 9 of 20 Page ID
                                       F-^-^      #:57635            ^^_..




                       1                73.    Attached hereto as Exhibit 72 is a true and correct copy of Tab
                       2 B2, Schedule 6.0 to the Expert Report of Michael Wagner, dated February 11, 2008.
                       3                74.    Attached hereto as Exhibit 73 is a true and correct copy of Isaac
                       4 and Angela Larian's List of Assets for 2007, Bates-numbered MGA 3787279.
                       5                7S.    Attached hereto as Exhibit 74 is a true and correct copy of
                       6 MGA's Toy Industry Comparable Company Analysis, Bates-numbered MGA
                       7 023 6491-5 04.
                       8               76.    Attached hereto as Exhibit 75 is a true and correct copy of the
                    9 ^ Curriculum Vitae of Michael Wagner.
                   10                  77.    Attached hereto as Exhibit 76 is a true and correct copy of MGA
                   11      Entertainment, Inc.'s Supplemental Responses to Mattel Inc.'s Revised Third Set of
                  12 Interrogatories , dated November 30, 2007.
                  13                   78.    Attached hereto as Exhibit 77 is a true and correct copy of Mattel
                  14 Inc.`s Opposition to the MGA Parties' and Carter Bryant's Motions for Partial
                  15 Summary Judgment, dated March 24, 2008.
                  16                   79.    Attached hereto as Exhibit 78 is a true and correct copy of the
                  17 Order Granting in Part, Denying in Part, and Deferring in Part the Parties` Motians
                  18 for Partial Summary Judgment (In Chambers}, dated April 25, 2008.
                  19                   80.    Attached hereto as Exhibit 79 is a true and correct copy of the
                  20 Expert Report of Ralph Oman, dated February 1 1, 2008.
                  2I                   81.    Attached hereto as Exhibit 80 is a true and correct copy of the
                  22 Report of John L. Alex Pursuant to Federal Rule of Civil Procedure 2b{a)(2}(B),
                  23 dated February 11, 200$.
                  24                   82.    Attached hereto as Exhibit 81 is a true and correct copy of a
                  25 Copyright Form CA, dated March 28, 2005, Bates-numbered M Ol 10211--12, and
                  26 marked as Exhibit 50$ to the Deposition of Brian Armstrong.
                  27
                  28
07209f2A85785.1

                                                                                         BUCHAKJIAN DECLARATION
                  Case 2:04-cv-09049-DOC-RNB Document 3337 Filed 04/28/08 Page 10 of 20 Page ID
                                       ^^-:        #:57636
                                               3




                       1                83.   Attached hereto as Exhibit 82 is a true and correct copy of the
                    2 Affirmation of Lee Shiu Cheung filed in the High Court of the Hong Kong Special
                    3 Administrative Region , Civil Action No. 1883 of 2003, dated June 18, 2003.
                    4                   84.   Attached hereto as Exhibit 83 is a true and correct copy of the
                    5 ABC International Traders, Inc . Business Plan, dated March 2001.
                    61           85.    Attached hereto as Exhibit 84 is a true and correct copy of the
                    7 Expert Rebuttal Report of Robert C. Lind, dated March 17, 2008.
                    8                  86.    Attached hereto as Exhibit 85 is a true and correct copy of
                    9 excerpts from the MGA Parties ' Memorandum of Points and Authorities in
                   10 Opposition to Mattel, Inc.'s Motion for Partial Summary Judgment , dated March 24,
                   11      2008.
                   12                  87.    Attached hereto as Exhibit 86 is a true and correct copy of the
                   13 Declaration of Ralph Oman, dated Apri125, 200$.
                   14                  88.    Attached hereto as Exhibit $7 is a true and correct copy of
                   15 excerpts from the Expert Report of Gary Funck, dated March 17, 2008.
                  16                   89.    Attached hereto as Exhibit $$ is a true and correct copy of the
                  17 Supplemental Declaration of Melissa Grant in support of Motion of Mattel , Inc. for
                  is an Order Enforcing Court's January 25 , 2007 Order Compelling Bryant to Produce
                  19 Computer Hard Drives and for Sanctions , dated February 15, 2008, attaching
                  20 Exhibits 6 and 7, other Exhibits omitted.
                  21                   90.    Attached hereto as Exhibit 89 is a true and correct copy of the
                           Forensic Analysis Report 1 of Mark J. Menz, dated February 10, 2008.
                  23                   91.    Attached hereto as Exhibit 90 is a true and correct copy of the
                  24 Forensic Analysis Report 2 of Mark J. Menz, dated February 10, 2008.
                  25                   92.    Attached hereto as Exhibit 91 is a true and correct copy of
                  26 MGA's Copyright Jury Instructions , Phase I-B.
                  27                   93.    Attached hereto as Exhibit 92 is a true and correct copy of the
                  28 Expert Witness Report of Denise Van Patten, dated March 10, ZOOS.
0720912485785.1                                                     , ^ ^_

                                                                                         BUCHAKJTAN DECLARATION
                  Case 2:04-cv-09049-DOC-RNB Document 3337 Filed 04/28/08 Page 11 of 20 Page ID
                                       ^--^.       #:57637           ',
                                                                        c-,




                       1              94.    Attached hereto as Exhibit 93 is a true and correct copy of the
                       2 Expert Rebuttal Report of Heather McComb , dated March 17, 200$.
                       3              95.    Attached hereto as Exhibit 94 is a true and correct copy of the
                       4 Expert Rebuttal Report of Kenneth Hollander , dated March 17, 2008.
                       5              96.   Attached hereto as Exhibit 95 is a true and correct copy of the
                       6 Copyright Form VA, dated October 27 , 2006, bates numbered M005969$-741.
                       7              97.   Attached hereto as Exhibit 96 is a true and correct copy of the
                       S Exhibit marked " RDB 13" Mentioned and Referred to in the Aff davit of Raymond
                    9 David Black in the High Court of the Hong Kong Special Administrative Region
                   10 Court of First Instance, Civil Action No . 18$3 of 2003 between MGA
                   11 Entertainment , Inc., MGA Entertainment (H.K.) Limited , and Double Grand
                  12 Limited, dated June 13, 2003.
                  13                 98.    Attached hereto as Exhibit 97 is a true and correct copy of the
                  1 4 Exhibit referred to in the Affidavit of Lam Yuen Chak in the High Court of the
                  15 Hong Kong Special Administrative Region Court of First Instance , Civil Action No.
                  16 1883 of 2003 between MGA Entertainment , Inc., MGA Entertainment {H.K.}
                  17 Limited, and Double Grand Limited , dated the June 16, 2003.
                  18                 99.    Attached hereto as Exhibit 98 is a true and correct copy of the
                  19 Expert Report of Glenn V. Vilppu , dated March 14, 2008.
                  20                 100. Attached hereto as Exhibit 99 is a true and correct copy of the
                  21 Expert Report of Peter S. Menell, dated February 11, 2008.
                  22                 101.   Attached hereto as Exhibit 100 is a true and correct copy of the
                  23 Affidavit of Daphne Gronich in the High Court of the Hong Kong Special
                  24 Administrative Region Court of First Instance Civil Action No. 2687 of 2003
                  25 between MGA Entertainment, Inc. and Hunglam Toys Company Limited, Choy
                  26 Kam Ying, Candy; Kwok Yin Kwan , May; and Kwok Chin Hung, dated December
                  27 6, 2005.
                  28
0720912485785.1

                                                                                      BUCHAK.IIAN DECLARATION
                   Case 2:04-cv-09049-DOC-RNB Document 3337 Filed 04/28/08 Page 12 of 20 Page ID
                                                    #:57638
                                                /^ v_• ^\


                                                       j                             ^\   /^




                        1                102. Attached hereto as Exhibit 101 is a true and correct copy of the
                        2 Affirmation of Lee Shiu Cheung in the High Court of the Hong Kong Special
                        3 Administrative Region Court of First Instance Civil Action No. 2687 of 2003
                     4 ''between MGA Entertainment, Inc. and Hunglam Toys Company Limited, dated
                     S ^ August 17, 2003.
                     6                   103. Attached hereto as Exhibit 102 is a true and correct copy of
                     7 photographs bates numbered M0914772-M0914773.
                                         104. Attached hereto as Exhibit 103 is a true and correct copy of a
                     9 ^ photograph bates numbered M0914776-M0914777.
                    10                   105.      Attached hereto as Exhibit 104 is a true and correct copy of the
                    11      Complaint in MGA_Eritertainment, Inc,.v. Multitoy, Inc., dated April 12, 2004,
                    12 attaching Exhibit 3, other Exhibits omitted.
                    13                  106. Attached hereto as Exhibit 105 is a true and correct copy of an e-
                   14 mail from Isaac Larian to Fred Larian and Eli Makabi, dated May 19, 2000.
                   151                  107. Attached hereto as Exhibit 106 is a true and correct copy of an e-
                   16 mail from Nishimoto CY nthia to Mitchell Kamarck
                                                                     ^ dated Februa
                                                                                  ry 26 2003.
                   17                   108. Attached hereto as Exhibit 107 is a true and correct copy of an e-
                   18 mail from Mitchell Kamarck to Nishimoto Cynthia, dated February 2, 2003.
                   19                   i 09. Attached hereto as Exhibit 108 is a true and correct copy of a
                   20 photograph bates numbered M0914768-M0914771.
                   21                   110. Attached hereto as Exhibit 109 is a true and correct copy of the
                   22 Discovery Master's Qrder Granting Mattel's Motion to Compel Production of

                   23 Documents and Interrogatory Responses by MGA, dated May 15, 2007.

                   24                   111. Attached hereto as Exhibit 110 is a true and correct copy of Toon
                   25       Teens drawings, Bates-numbered M0012566-577.
                   26                   112. Attached hereto as Exhibit 1 i 1 is a true and correct copy of a
                   27 DIVA STARZ drawings , Bates-numbered M 0016504.
                   28

472(}9/2485785.]

                                                                                               BUCHAKJIAN DECLARATION
                  Case 2:04-cv-09049-DOC-RNB Document 3337 Filed 04/28/08 Page 13 of 20 Page ID
                                                                      P,...^
                                                   #:57639
                                                                                   C   i^




                       1                  113. Attached hereto as Exhibit 112 is a true and correct copy of
                       2 DIVA STARZ drawings , Bates-numbered M 0016474-501.
                       3                  114. Attached hereto as Exhibit 113 is a true and correct copy of
                       4 DIVA STARZ drawings, Bates- numbered M 0016495-96.
                       5                 115. Attached hereto as Exhibit 114 is a true and correct copy of
                       6 DIVA STARZ drawings , Bates-numbered M 0016$16-824.
                       7                 116. Attached hereto as Exhibit 115 is a true and correct copy of
                       $ ^ DIVA STARZ drawings, Bates-numbered TP 0012-17.
                    9                    117. Attached hereto as Exhibit 116 is a true and correct copy of
                   10 DIVA STA.RZ drawings , Bates-numbered TP 0109--11$.
                   11                    i 18. Attached hereto as Exhibit 117 is a true and correct copy of an
                   12 e-mail from Liz Hogan to Joni Pratte and Sue Davis , dated January 7, 2000, Bates-
                   13 numbered M 00165$5-00165 $ 6.001.
                   14                    119. Attached hereto as Exhibit 11 $ is a true and correct copy of
                   1 5 illustrations , Bates-numbered M 0016$06-11.
                  16                     120. Attached hereto as Exhibit 119 is a true and correct copy of
                  17 illustrations , Bates-numbered TP 00$-011.
                  18                     121.   Attached hereto as Exhibit 120 is a true and correct copy of
                  19 illustrations, Bates-numbered M 0016482.
                  20                     122. Attached hereto as Exhibit 121 is a true and correct copy of a
                  21       DIVA STARZ Script, dated July 19, 2000 , Bates-numbered M 0040931-951.
                  22                     123. Attached hereto as Exhibit 122 is a true and correct copy of the
                  23       Resume of Carter Bryant, Bates-numbered M 0001615-16, marked as Deposition
                  24       Exhibit 20.
                  25                     124.   Attached hereto as Exhibit 123 is a true and correct copy of an
                  26       -mail from Isaac Larian to Mercedeh Ward and Paula Treantafelles, dated
                  27       November 2, 2000, Bates -numbered MGA 0009407 B- 9412 B.
                  28

07209/2465785,1

                                                                                            BUCHAK.ITAN DECLARATION
                   Case 2:04-cv-09049-DOC-RNB Document 3337 Filed 04/28/08 Page 14 of 20 Page ID
                                        1`y^'a      #:57640           r
                                                „`
                                                                                          T




                                         125. Attached hereto as Exhibit 124 is a true and correct copy of an
                        2 e-mail from Paula TreantafeIles to Franki Tsang and .Iudy Rich, dated November 2,
                        3 2000, Bates-numbered MGA 000422.
                        a                126.        Attached hereto as Exhibit 125 is a true and correct copy of the
                        5 Employee Conf dential Information and Inventions Agreement signed by Carter
                        6 Bryant, dated January 4, 1999, Bates-numbered M 0001622.
                        7               127. Attached hereto as Exhibit 126 is a true and correct copy of an
                        8 e-mail from Mercedeh Ward, dated October 30, 2000, Bates-numbered MGA
                     9 114504698-700.
                    10                  128.         Attached hereto as Exhibit 127 is a true and correct copy of the
                    11      Proprietary Information Checkout, signed by Carter Bryant, dated October 19, 2000,
                    12 ^ Bates-numbered M 0001604.
                    13                  129.         Attached hereto as Exhibit 12$ is a true and correct copy of the
                    14 Court's Order Denying MGA's Motion to Cornpel Discovery As to Issues As to
                   15       Which Mattel Has Purportedly Waived the Attorney-Client and Work Product
                   16' Privileges By Claim Assertion, dated April 25, 2008.
                   17                   130. Attached hereto as Exhibit 129 is a true and correct copy of an
                   18 e-mail from Isaac Larian to Valerie Grant, dated August 17, 2003, Bates-numbered
                   19 MGA 3772472-74.
                   20                   131.         Attached hereto as Exhibit 130 is a true and correct copy of an
                   Z1       Independent Auditor's Report, dated July 12, 2001, Bates -numbered MGA 7341-51.
                   22                   132.         Attached hereto as Exhibit 131 is a true and correct copy of an
                   23 Independent Auditor's Report, dated Juiy 12, 2001 , Bates numbered MGA 7352-62.
                   24                   133.         Attached hereto as Exhibit 132 is a true and correct copy of
                   25 MGA's Consolidated Financial Statements for 2006 and 2005, Bates--numbered
                   26 MGA 0868707-22.
                   27
                   28
a^zaq^zass^ss. i
                                                                                               BUCHAKJIAN DECLARATION
                   Case 2:04-cv-09049-DOC-RNB Document 3337 Filed 04/28/08 Page 15 of 20 Page ID
                                        r__:        #:57641            ^^




                        1               134. Attached hereto as Exhibit 133 is a true and coxxect copy of an
                        2 e-mail from Jeffrey HaII to Valerie Grant and Isaac Larian, dated September 4,
                        3 2003, Bates-numbered MGA 1506093.
                        4               135. Attached hereto as Exhibit 134 is a true and correct copy of a
                        5 document Bates-numbered MGA 3787372-97.
                     6                 136. Attached hereto as Exhibit 13S is a true and correct copy of Isaac
                     7 and Angela Larian's List of Assets for 2006, Bates-numbered MGA 3787276-77.
                     8                 137. Attached hereto as Exhibit 136 is a true and correct copy of Isaac
                     9 Larian's Bank and Investment Accounts, Bates -numbered MGA 3787280--84.
                    10                 13 8. Attached hereto as Exhibit 13 7 is a true and correct copy of an
                    I1 e-mail from Isaac Larian to Haim Saban, dated February 4, 2003, Bates numbered
                    12 MGA 1008775-78.
                    13                 139. Attached hereto as Exhibit 138 is a true and correct copy of an
                    14 e-mail from Isaac Larian to Victoria O'Connor, dated October 10, 2000 , Bates-
                   1S nurnbered MGA 004717.
                   16                  140.   Attached hereto as Exhibit 139 is a true and correct copy of an
                   17 e-mail from Isaac Larian to Paula Treantafelles, Mercedeh Ward, Carter Bryant and
                   18 Maureen Mullen, dated October 17, 2000, Bates-numbered MGA 0006475 A.
                   19                  141. Attached hereto as Exhibit 140 is a true and correct copy of a
                   20 document Bates-numbered MGA 3787400, marked as Deposition Exhibit 1364.
                   21              .   142. Attached hereto as Exhibit 141 is a true and correct copy of a
                   22 document Bates-numbered MGA 3787372-97, marked as Deposition Exhibit 1354.
                   23
                   24
                   2S
                   26
                   27
                   28
o^za9rzass^ss. ^
                                                                                        BUCHAKJIAN DECLARATION
                  Case 2:04-cv-09049-DOC-RNB Document 3337 Filed 04/28/08 Page 16 of 20 Page ID
                                                _.1
                                                   #:57642                         F..^


                                                    l




                        1                 143. Attached hereto as Exhibit 142 is a true and correct copy of the
                       2 [Public Redacted] Declaration of Michael T. Zeller in support of Mattel, Int.'s
                       3 Motion to Compel Deposition of Littler Mendelson, P.C. Pursuant to Subpoena,
                       4 dated December 13, 2007 {without exhibits}.
                       5                 144. Attached hereto as Exhibit 143 is a true and correct copy of a
                       6 document Bates-numbered MGA 3779227-50, and marked as Exhibit 4502 in this
                       7 ^ action.
                    8                    145. Attached hereto as Exhibit 144 is a true and correct copy of
                    9' document marked as an exhibit to the Second Affirmation of Lee Shiu Cheung dated
                   10 November 12, 2003, filed in the High Court of the Hong Kong Special
                   11       Administrative Region, Miscellaneous Proceedings No. 4159 of 2003, Bates-
                   12 numbered MGA 0$85809-13.
                   13                    146.   Attached hereto as Exhibit 145 is a true and correct copy of a
                   14 Circuit City Receipt, dated October 22, 2000, Bates-numbered Bryant 00787.
                   15                    147.   Attached hereto as Exhibit 146 is a true and correct copy of
                  16 Mattel's Second Notice of Deposition of MGA Entertainment, Inc. Pursuant to
                  17^ Federal Rule of Civil Procedure 30{b){6), dated February 1, 2007.
                  1$                     148.   Attached hereto as Exhibit 147 is a true and correct copy of
                  19 MGA Entertainment Int.'s Opposition to Mattel, Int.'s Motion to Compel MGA to
                  20 Produce Witnesses for Deposition Pursuant to Rule 30{b}(6} and for Sanctions,
                  21        dated April 26, 2007.
                  22                     149. Attached hereto as Exhibit 14 $ is a true and correct copy of the
                  23 Order Granting Mattel Int.'s Motion to Compel MGA To Produce Witnesses For
                  24 Deposition Pursuant To Rule 30{b){6), dated May 16, 2007.
                  25                    150. Attached hereto as Exhibit 149 is a true and correct copy of
                  26 Judge Larson's Minute Order dated July 2, 2007.
                  27                    151. Attached hereto as Exhibit 150 is a true and correct copy of the
                  28 Order Granting In Part And Denying In Part Mattel's Motion To Enforce Court's
0720912485785.1

                                                                                          BUCHAK7IAN DECLARATION
                   Case 2:04-cv-09049-DOC-RNB Document 3337 Filed 04/28/08 Page 17 of 20 Page ID
                                         ---,       #:57643           ^°^^
                                                j



                        1   Discovery Orders And To Compel; To Overrule Purportedly Improper Instructions;
                     2 And For Sanctions, dated January 9, 2008.
                     3                  152.   Attached hereto as Exhibit 151 is a true and correct copy of the
                     4 ^ Expert Rebuttal Report of Lee Loetz, dated March 17, 2008.
                     5                  1 S3. Attached hereto as Exhibit 152 is a true and correct copy of the
                     6' ^ G/L Detail , Bates--numbered MGA 3865982-6029.
                     7                  154. Attached hereto as Exhibit 153 is a true and correct copy of the
                     S Order Granting in Part Mattel 's Motion to Enforce the Court's Order of May 16,
                     9 2007, to Compel MGA to Produce Witnesses For Deposition Pursuant to Rule
                    10 30(b}(6), and Granting Request for Sanctions , dated August 14, 2007.
                    11                 155.    Attached hereto as Exhibit 154 is a true and correct copy of a
                    12 drawing Bates-numbered BRYANT 00$83 and marked as Exhibit 1658 to this
                    13 i action, drawings Bates-numbered BRYANT 00884-5 , and a drawing Bates-
                    14 numbered BRYANT 00$86 and marked as Exhibit 1659 to this action.
                    15                 156.    Attached hereto as Exhibit 1 SS is a true and correct copy of Isaac
                    16 ^ Larian Total Income Per Tax Returns, Bates-numbered MGA 3787278.
                   17                  157.    Attached hereto as Exhibit 156 is a true and correct copy of an
                   18 e-mail chain between Mel Woods and Isaac Larian, dated June 26, 2003, Bates-
                   19 numbered MGA 3772461-74.
                   20                  15 8. Attached hereto as Exhibit 15 7 is a true and correct copy of a
                   21       document Bates-numbered BRYANT 377.
                   22                  159. Attached hereto as Exhibit 158 is a true and correct copy of a
                   23 document Bates-numbered BRYANT 4647.
                   24                  160. Attached hereto as Exhibit 159 is a true and correct copy of a
                   25 document Bates-numbered MGA 4033288-310.
                   26                  161.    Attached hereto as Exhibit 160 is a true and correct copy of a
                   27 document Bates-numbered MGA 0883920-37.
                   28
tl7209/2Q85785.]
                                                                    - ^ 7-
                                                                                         BUCHAKJIAN DECLARATION
                   Case 2:04-cv-09049-DOC-RNB Document 3337 Filed 04/28/08 Page 18 of 20 Page ID
                                                    #:57644



                     1                162.   Attached hereto as Exhibit 161 is a true and correct copy of a
                    2 document Bates-numbered BRYANT 943-44.
                    3

                    4                 I declare under penalty of perjury under the laws of the United States of
                    5    America that the foregoing is true and correct.
                    6                 Executed on Apri128, 2008, at Los Angeles, California.

                    ^I
                    8.

                    9
                   10
                   11
                   12
                   13
                   14
                   15
                   16
                   17
                   18
                   19
                   20
                   21
                   22
                   23
                   24
                   25
                   26
                   27
                   28
07209124857 $5.1                                                  .. ^ ^_
                                                                                       BUCHAKJIAN DECLARATION
     Case 2:04-cv-09049-DOC-RNB Document 3337 Filed 04/28/08 Page 19 of 20 Page ID
                                      #:57645            ^^




           1                                               PROOF OF SERVICE
           2            Y am employed in the County of Los Angeles, State of California. I am over the age of
                 eighteen years and not a party to the within action; my business address is Now Legal Service,
           3     1301 W. 2nd Street, Suite 206, Los Angeles, CA 90026.

          4              On April 28, 2008,1 served true copies of the following document(s) described as
                 DECLARATION OF TAMAR BUCHAKJIAN IN SUPPORT OF MATTEL, INC.'S
          5      OPPOSITION TO THE MGA PARTIES' MOTIONS IN LIMINE NOS. 1-14 (with exhibits}
                 on the parties in this action as follows:
          6
                              Thomas J. Nolan                              Mark E. Overland
          7                   Skadden, Arps, Slate, Meageher & Flom        David C. Scheper
                              LLP                                          Alexander H. Cote
          8                   300 South Grand Ave., Ste. 3400              Overland Borenstein Scheper & Kim
                              Los Angeles, CA 90071                        LLP
          9                                                                601 West Fifth Street, 12th Floor
                                                                           Las Angeles, CA 90017
      10

      11

      12        On Apri128, 2008,1 served true copies of the following document{s) described as
                DECLARATION OF TAMAR BUCHAKJIAN IN SUPPORT OF MATTEL, INC.'S
a^    13        OPPOSITION TO THE MGA PARTIES' MOTIONS IN LIMINE NOS. 1- 14 (without
                exhibits } on the parties in this action as follows:
c
      14
                             Sohn W. Keker, Esq.
a^
c     15                     Michael H. Page, Esq.
^^                           Christina M. Anderson, Esq.
0     16                     Keker & Van Nest, LLP
rs
                             710 Sansome Street
      17                     San Francisco, CA 94111

      18

      19

      20       BY PERSONAL SERVICE: I delivered such envelope{s} by hand to the office of the person(s)
               being served.
     21
                       I declare that I am employed in the office of a member of the bar of this Court at whose
     22        direction the service was made.

     23                      Executed on Apri128, 2008, at Los Angeles, California.

     24                                                                                   -.

     25
                                                                      OW LEGA         -- Dave Quint na
     26

     27

     28


               }73U9'?^45 ^ 89G. I
     Case 2:04-cv-09049-DOC-RNB Document 3337 Filed 04/28/08 Page 20 of 20 Page ID
                                      #:57646



           1                                              PROOF OF SERVICE
          2             I am employed in the County of Los Angeles, State of California. 1 am over the age of
                eigh#een years and not a parry to the within action; my business address is 865 South Figueroa
       3        Street, 10th Floor, Los Angeles, California 90017-2543.

       4                On April 2$, 2008,1 served true copies of the following dacument(s} described as
                DECLARATION OF TAMAR BUCHAKJIAN IN SUPPORT OF MATTEL, INC.'S
       5        OPPOSITION TO THE MGA PARTIES' MOTIONS IN LIMINE NOS. 1 -1.4 (with exhibits)
                on the parties in this action as follows:
       6'
                            John W. Keker, Esq.
       7                    Michael H. Page, Esq.
                            Christina M. Anderson, Esq.
       8                    Keker & Van Nest, LLP
                            710 Sansome Street
       9                    San Francisco, CA 94I 1 X

      10       BY MAIL: I enclosed the foregoing iota sealed envelopes} addressed as shown above, and I
               deposited such envelopes} in the mail at Los Angeles, California. The envelope was mailed r^vith
      lI       postage thereon fully prepaid.

      12               I declare that I am employed in the off ce of a member of the bar of this Court at whose
               direction the service was made.
a^    13
                           Executed on April 28, 2008, at Los Angeles, California.
      14
E
C
      15
C
0     16                                                           Andrea Hoeven
=s
      17

      18

      i9

     20

     21

     22

     23

     24

     25

     26

     27

     28


               fl7209/2435896, ]                                  -^-
